
		
				IN THE MATTER OF THE SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION2022 OK 53Case Number: SCBD-7260Decided: 06/06/2022THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2022 OK 53, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 

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IN THE MATTER OF THE SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION FOR NONCOMPLIANCE WITH MANDATORY CONTINUING LEGAL EDUCATION REQUIREMENTS FOR THE YEAR 2021



ORDER OF SUSPENSION FOR FAILURE TO COMPLY WITH THE
RULES FOR MANDATORY CONTINUING LEGAL EDUCATION



On May 24, 2022, the Board of Governors of the Oklahoma Bar Association filed an Application for the suspension of Oklahoma Bar Association members who failed to comply with mandatory legal education requirements for the year 2021 as required by Rules 3 and 5 of the Rules for Mandatory Continuing Legal Education (MCLE Rules), 5 O.S. 2011, ch. 1, app. 1-B. The Board of Governors recommended the members, whose names appear on Exhibit A attached to the Application, be suspended from membership in the Oklahoma Bar Association and prohibited from the practice of law in the State of Oklahoma, as provided by Rule 6 of the MCLE Rules.

This Court finds that on March 15, 2022, the Executive Director of the Oklahoma Bar Association mailed, by certified mail, to all Oklahoma Bar Association members not in compliance with Rules 3 and 5 of the MCLE Rules, an Order to Show Cause within sixty days why the member's membership in the Oklahoma Bar Association should not be suspended. The Board of Governors determined that the Oklahoma Bar Association members named on Exhibit A of its Application have not shown good cause why the member's membership should not be suspended.

This Court, having considered the Application of the Board of Governors of the Oklahoma Bar Association, finds that each of the Oklahoma Bar Association members named on Exhibit A, attached hereto, should be suspended from Oklahoma Bar Association membership and shall not practice law in this state until reinstated.

IT IS THEREFORE ORDERED that the attorneys named on Exhibit A, attached hereto, are hereby suspended from membership in the Association and prohibited from the practice of law in the State of Oklahoma for failure to comply with the MCLE Rules for the year 2021.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 6TH DAY OF JUNE, 2022.


/S/CHIEF JUSTICE


ALL JUSTICES CONCUR.


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EXHIBIT A

(MCLE -- SUSPEND)

Gordon Lynn Burch III, OBA No. 14986
3101 N.W. 21st St.
Oklahoma City, OK 73107-3009

Jonathan Charles Curth, OBA No. 31442
5800 Granite Pkwy., Ste. 550
Plano, TX 75024

Sean Patrick Downes, OBA No. 17281
5 S. Main St.
Sapulpa, OK 74066

Blaine Michael Dyer, OBA No. 22552
16328 Muirfield Pl.
Edmond, OK 73013

Lindsey Marie Everett, OBA No. 32227
5801 E. 41st St., Ste. 300
Tulsa, OK 74135

Robert Eugene Goins, OBA No. 32235
7820 E. Galveston St.
Broken Arrow, OK 74014-7060

William Shawn Jefferson, OBA No. 20250
210 Park Ave., Ste. 2125
Oklahoma City, OK 73102

Joy Dawn Jones, OBA No. 32639
P.O. Box 911
Miami, OK 74355-0911

Ronald Christopher Kaufman, OBA No. 17657
1611 S. Utica Ave.
Tulsa, OK 74104

Pamela Jean Kimbrough, OBA No. 12738
18 N.W. 35th St.
Lawton, OK 73505

Melissa Ann Lipe, OBA No. 19437
P.O. Box 3981
Edmond, OK 73083

Randolph Lee Marsh, OBA No. 17313
5 Timber Creek Cir.
Shawnee, OK 74804

Matthew Ryan McRorie, OBA No. 32831
4640 Olde Village Cir.
Edmond, OK 73013

Suzanne Reed Phillips, OBA No. 30213
2862 Valentia St.
Denver, CO 80238

Michael Christopher Radmilovich,
OBA No. 13339
4922 E. 38th Pl.
Tulsa, OK 74135

Phillip John Shyers, OBA No. 33611
2223 E. 55th Ct.
Tulsa, OK 74105

William Donald Smith, OBA No. 15845
925 N.W. 6th St.
Oklahoma City, OK 73106

Pamela M. Snider, OBA No. 14021
1523 N. Oklahoma Ave.
Shawnee, OK 74804-3848

Cliff A. Stark, OBA No. 10973
10004 S. Louisville Ave.
Tulsa, OK 74137

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